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Reguest No. 33

All documents concerning any of Plaintiff’s claims for damages from lost enjoyment
of the Apartment, including but not limited to the “Loss of enjoyment of NYC apartment”
referenced on page 5 of the Plaintiff" s lnitial Disclosures.

Reguest No. 34

All documents concerning any of Plaintiff`s claims for damages from housing court
judgments, including but not limited to the “Housing court judgments” referenced on page 5
of the Plaintif.t`s lnitial Disclosures.

Reguest No. 35

All documents concerning any of Plaintiffs claims for damages for the time and cost
to prepare documents in connection With any claim against any of the BPCA Defendants,
including but not limited to the “Time and cost to prepare documents” referenced on page 5 of
the Plaintiff’s lnitial Disclosures.

Reguest No. 36

All documents concerning any of Plaintift" s claims for damages from travel,
including but not limited to the “Travel to court” referenced on page 5 of the Plaintiff’s
Initial Disclosures. Such documents should include, but not be limited to, receipts for
transportation, gasoline, and tolls, and proof of mileage travelled
Reguest No. 37

All documents concerning any of Plaintiff` s claims for damages from paralegal fees,
including but not limited to the “Paralegal fees"' referenced on page 5 of the Plaintiff`s lnitial
Disclosures. Such documents Should include, but not be limited to, invoices for paralegal

time expended and tasks undertaken, amounts charged, and proof of payment by Plaintiff.

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Reguest No. 38

All documents concerning any of Plaintiff's claims for damages from attorney fees
and costs, including but not limited to the “Attorney fees and costs” referenced on page 5 of
the Plaintiffs lnitial Disclosures. Such documents should include, but not be limited to,
invoices for attorney time expended and tasks undertaken, amounts charged, and proof of
payment by Plaintiff.

Reguest No. 39

All documents concerning the allegation that “Plaintiffis a journalist,” referenced at 120
of the Corrected Amended Complaint.
Reguest No. 40

All documents concerning any compensation received by Plaintiff for any Work Plaintiff
claims is as a journalist
Reguest No. 41

All published Writings of Plaintiff via any media other than on the BatteryPark.tv or The
l-lealthcare Channel Websites.

Reguest No. 42

All documents concerning any press pass or press credentials issued to Plaintiff.

Reguest No. 43

All documents relating to Plaintiff' s contention that Plaintiff` s journalism has been
“referenced in “congressional testimony” [sic], as referenced in 121 of the Corrected Amended

Complaint.

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Reguest No. 44

All documents concerning e-mail subscribers to BatteryPark.tv, including but not limited
to the names and email addresses of such subscribers
Reguest No. 45

All documents concerning the monthly number of visitors to BatteryPark.tv, including
but not limited to the monthly number of unique visitors.
Reguest No. 46

All documents concerning the contention in 1120 of the Corrected Amended Complaint
that BatteryPai'k.tv is “one of the most viewed local news Website -[sic] for Dovvntown
l\/lanhattan.”
Reguest No. 47

All documents concerning revenue from BatteryParl<.tv, including but not limited to
revenue from advertisements, subscriptions, grants, or donations.
Reguest No. 48

All documents concerning The Healthcare Channel referenced in 11116 of the Corrected
Amended Complaint.
Reguest No. 49

All documents concerning e-mail subscribers to The Healthcare Channel, including but
not limited to the names and email addresses of such subscribers
Reguest No. 50

All documents concerning the monthly number of visitors to The Healthcare Channel,

including but not limited to the monthly number of unique visitors

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Reguest No. 51

All documents concerning revenue from The Healthcare Channel, including but not
limited to revenue from advertisements, subscriptions, grants, or donations.
Reguest No. 52

All medical textbooks Written by Plaintiff as referenced in ilill 8-1 9 of the Corrected
Amended Complaint.
Reguest No. 53

All “peer-revievv research papers"’ Written by Plaintiff as referenced in ill 8 of the
Corrected Amended Complaint.
Reguest No. 54

Docurnents concerning any “prestigious federal research grants to conduct clinical trials”
awarded to Plaintiff, as referenced in ilill 8-l 9 of the Corrected Amended Complaint.
Reguest No. 55

Documents concerning any “strenuous background checks, fingerprinting and extensive
state and federal testing” undergone by Plaintiff, as referenced in ill 8 of the Corrected Amended
Complaint.
Reguest No. 56

Documents concerning requests by “medical directors of large`NeW York long-term care
facilities” that Plaintiff “speak at grand rounds to educate their staff,” as referenced in ill 9 of the

Corrected Amended Complaint.

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Reguest No. 57

Documents concerning Plaintiff"s alleged participation in “oversight activities assisting
the U.S. Senate and House investigate Waste and fraud in medicine,” and in the passage of the
Physicians Payments Sunshine Act, as referenced in ilZl of the Corrected Amended Complaint.
Reguest NO. 58

All op-ed articles vvritten by Plaintiff as referenced in il20 of the Corrected Amended
Complaint, including but not limited to articles published in The Wall Srreet Jotirnal.

Reguest No. 59

All documents concerning the “rare sale[l that l\/lilstein has ever made of the original
rental apartments set aside in the l980’s Was a sale to a BPCA board member, Robert Mueller, at
belowpmarket-rate [sic],” as referenced in il32 of the Corrected Amended Complaint.

Reguest No. 60

All documents concerning the contention in il44 of the Corrected Amended Complaint
that “Defendant Milford had scliemed to sabotage street safety measures planned by the City
DOT[.]”

Reguest No. 61

All documents concerning Plaintiff’s payment of rent for the Apartment in a timely or
late manner, including but not limited to receipts and notices of late payment.
Reguest No. 62

All documents concerning the contention in ilSS of the Corrected Amended Complaint
that “Plaintiff s reporting has alerted several state and federal agencies about Wrongdoing by l\/lr.

Mehie]’s BPCA, and various levels of investigation are underway.”

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Reguest No. 63

All documents concerning the “Friends ofBPC” organization referred to in il30 of the
Corrected Amended Complaint, including but not limited to organizational documents, meeting
minutes, schedules or programs or initiatives or events, and membership lists of “Friends of
BPC.”

Reguest No. 64

All documents concerning complaint(s) lodged against Plaintiff, and/or discipline
proposed or taken With respect to Plaintiff, during the past 10 years.
Reguest No. 65

All documents concerning the “agreement [between building management and building
staft] to not talk to Plaintiff about details of the business of the building,” Which agreement
Plaintiff stated “Will be produced during discovery,“’ as referred to in illO6 of the Corrected
Amended Complaint.

Reguest No. 66

All documents concerning any complaint(s) lodged against Plaintiff by the staff or former
staff of the building at 200 Rector Place, NY, NY, including but not limited to those referred to
in ill 07 of the Corrected Amended Complaint.

Reguest No. 67

All documents concerning any complaint(s) lodged against Plaintiff by residents or

former residents of the building at 200 Rector Place, NY, NY.
Reguest No. 68
All documents relating to Plaintiff’s medical licensing, including but not limited to all

applications for licensing, applications for renewals, and all licenses received

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Reguest No. 69

All documents reflecting Plaintiff’ s first license to practice medicine

Reguest No. 70

All documents concerning Whether Plaintiff is currently licensed to practice medicinel
Reguest No. 71

All documents concerning whether Plaintiff`s license to practice medicine has ever been
revoked, suspended or terminated
Reguest No. 72

All documents concerning any professional complaint(s) lodged against Plaintiff, and/or
professional discipline considered, proposed or taken With respect to Plaintiff, including
reprimand, censure, sanction, revocation of a license, or any other punishment or penalty.
Reguest No. 73

Unredacted and unedited versions of all documents attached to the Corrected Amended
Complaint.
Dated: New York, Nevv York

N`ovember 14, 2016

SIVE, PAGET & RIESEL P.C.
Attomeysfor the BPC Defen nrs

 

C orost
460 Park Avenue
Nevv York, NY 10022
(212) 421-2150
(212) 421-1891 (fax)

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l\/lr. Steven Greer

4674 Tatersall Court
Columbus, Ohio 43230
(212) 945»7252
steve@batterypark.tv

(via email and regular mail)

Deborah Riegel, Esq.

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EXH|B|T A

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AUTHORIZATION AND RELEASE FOR MEDICAL RECORDS
PURSUANT TO HIPAA

 

Patient Name Steven Greer

 

Date of Birth

 

Social Security Nuinber

 

Patient Address

 

 

 

 

l request that health information regarding my care and treatment be released as set forth
on this fonn. ln accordance With New York State LaW and the Privacy Rule of the Health
lnsurance Portability and Accountability Act of 1996 (HIPAA), l understand that:

1. This authorization may include disclosure of information relating to ALCOHOL and DRUG
ABUSE, MENTAL HEALTH TREATMENT, and CONFIDENTIAL HIV RELATED
INFORMATION only if l place my initials on the appropriate line in ltem 9(a). ln the event the
health information described below includes any of these types of infomiation, and l initial the
line on the box in ltem 9(a), l specifically authorize release of such information to the person(s)
indicated in ltem 8.

2. lf l am authorizing the release of HlV-related, alcohol or drug-related treatment, or mental
health treatment information, the recipient is prohibited from redisclosing such information
Without my a'uthorization, unless permitted to do so under federal or state laW. l understand that l
have the right to request a list of people Who may receive or use my HlV-related information
Without authorization lf 1 experience discrimination because of the release or disclosure of HIV-
related information, l may contact the Nevv York State Division of Human Rights at (212) 480-
2493 or the New York City Commission of Human Rights at (2] 2) 306-7450. These agencies are
responsible for protecting my rights

3. l have the right to revoke this authorization at any time by Writing the health care provider
listed below. I understand that l may revoke this authorization except to the extent that action has
already been taken based on this authorization

4. l understand that signing this authorization is voluntary. 1\/ly treatment, payment, enrollment in
a health plan, or eligibility for benefits Will not be conditioned upon my authorization of this
disclosure

5 . Information disclosed under this authorization might be redisclosed by the recipient (except as
noted above in ltem 2), and this redisclosure may no longer be protected by federal or state laW.

6. THIS AUTHORIZATION DOES NOT AUTHOR[ZED YOU TO DISCUSS MY
HEALTH INFORMATION OR MEDICAL CARE WITH ANYONE OTHER THAN THE
ATTORNEY OR GOVERNMENTAL AGENCY SPECIFIED IN ITEM 9(b).

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7. Naine and address of health provider to
release this information

 

8. Name and address of person(s) or category
ofperson to Whom this information will be
Sent

Attorneys from Sive, Paget, and Riesel, P.C.,
560 Lexington Avenue, NY, NY 10022

 

9(a). Specific information to be released

Entire medical record from January 1, 2009 to
present, including patient histories, office
notes, psychotherapy notes, test results,
radiology studies, films, referrals, consults,
billing records, insurance records, and records
sent to you by other health care providers

lnclude (Please initial where indicated):
( initial here) Alcohol/Drug Treatment

(initial here) l\/lental Health
lnfoimation

 

9(b). Authorization to discuss health
information

l authorize

(name of
individual health care provider) to discuss my
health care information with attorneys from
Sive, Paget, and Riesel, P.C., 560 Lexington
Avenue, NY, NY 10022.

By initialing here

 

 

10. Reason for release of this information

Litigation filed by Steven Greei', Greer v.
Mehi'el, et al, claiming damages based on
specific harms to health and mental health,
including depression and anxiety

 

11. Date or event on Which this authorization
Will expire

 

 

At conclusion of Greer v. Mehi'el, et af

 

 

All items on this form have been completed and my questions about this form have been
answered ln addition, l have been provided a copy of the foirn.

 

Signature of the patient

 

Date

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